Case 5:20-cv-00145-PSG-GJS Document 27 Filed 05/05/20 Page 1 of 3 Page ID #:127



1    KIRK. J. ANDERSON (SBN 289043)
     kanderson@budolaw.com
2    BUDO LAW P.C.
     5610 Ward Rd., Suite #300
3    Arvada, CO 80002
     (720) 225-9440 (Phone)
4    (720) 225-9331 (Fax)
5    Counsel for Plaintiff
     Symbology Innovations LLC
6
7
8
                          IN THE UNITED STATES DISTRICT COURT
9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   SYMBOLOGY INNOVATIONS LLC,
12
                            Plaintiff,
13                                            Case No. 5:20-cv-00145-PSG-GJS
            v.
14
                                              JOINT NOTICE OF
15   NOVATIME TECHNOLOGY INC.,                VOLUNTARY DISMISSAL
16   et al.                                   PURSUANT TO FEDERAL RULE
                                              OF CIVIL PROCEDURE
17                          Defendant.        41(a)(1)(A)(ii)
18
19
20
21
22
23
24
25
26
27
28
                                                              JOINT NOTICE OF DISMISSAL
     Case No. 5:20-cv-00145-PSG-GJS      1.
Case 5:20-cv-00145-PSG-GJS Document 27 Filed 05/05/20 Page 2 of 3 Page ID #:128



 1           TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
 2           PLEASE TAKE NOTICE that plaintiff Symbology Innovations, LLC, and defendants
 3    NovaTime Technology Inc. and Ascentis Corporation (collectively the “Settling
 4    Parties”) have resolved all claims between them in the above captioned litigation.
 5           WHEREAS, the Settling Parties have negotiated and executed a settlement
 6    agreement resolving all claims between them.
 7           WHEREFORE, the Settling Parties, pursuant to Federal Rule of Civil Procedure
 8    41(a)(1)(A)(ii), hereby stipulate to the dismissal of this action in its entirety, with
 9    prejudice, including all claims and counterclaims, whether stated or unstated, against
10    all parties, with each party to bear its own attorneys’ fees and costs.
11
12
      Dated: May 1, 2020                                    Respectfully submitted,
13
14
   s/ _Erin O. Dungan____                             s/ Kirk J. Anderson___
15 PADMANBHAN & DAWSON, P.L.L.C.                      BUDO LAW, P.C.
16 Erin O. Dungan                                     Kirk J. Anderson
   Attorneys for Defendants                           Attorneys for Plaintiff
17 45 South 7th Street, Ste 2315                      5610 Ward Rd, Suite #300
18 Minneapolis, MN 55402                              Arvada, CO 80002
   Telephone: 612-444-3634                            Telephone: 720-225-9440
19 Facsimile: 612-444-3195                            Facsimile: 720-225-9331
20
   Counsel for Defendants NovaTime                    Counsel for Plaintiff
21 Technology, Inc. and Ascentis                      Sunset Licensing LLC
22 Corporation
23
24
25
26
27
28
     Case No. 5:20-cv-00145-PSG-GJS
                                                 2.                    JOINT NOTICE OF DISMISSAL
Case 5:20-cv-00145-PSG-GJS Document 27 Filed 05/05/20 Page 3 of 3 Page ID #:129



1
2                                       ATTORNEY ATTESTATION

3            I, Kirk J. Anderson, am the ECF user whose ID and password are being used to

4     file this Notice of Voluntary Dismissal. In compliance with Local Rule 5-4.3.4(a)(2)(i),

5     I hereby attest that all other signatories listed, and on whose behalf the filing is

6     submitted, concur in the filing’s content and have authorized the filing.

7
      Dated: May 1, 2020
8
                                                     s/_Kirk J. Anderson___
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     Case No. 5:20-cv-00145-PSG-GJS
                                                3.                    JOINT NOTICE OF DISMISSAL
